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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO: 2:23-cv-14287
RYAN HOLMES

Plaintiff,

v.

INDIAN RIVER COUNTY SHERIFF OFFICE,
[Deryl Loar, in his official and individual capacity
as Sheriff of Indian River County, Florida],
Deputy Sheriff CHRISTIAN MATHISEN,

in his individual capacity,

Deputy Sheriff BRANDON MCKAY,

in his individual capacity,

Deputy Sheriff RICARDO FERRE,

in his individual capacity,

Deputy Sheriff DYLAN FARINACCL,

in his individual capacity,

Deputy Sheriff PATRICK WHITE,

in his individual capacity,

Defendants

/

FIRST AMENDED COMPLAINT AND JURY TRIAL DEMAND

Plaintiff, RYAN HOLMES, in propria persona, sues Defendants to allege and verify the

following Complaint:

INTRODUCTION

1. This is an action involving the violation of Plaintiffs federal civil rights, by Defendants acting
under color of state law, and contains state causes of action pursuant to this Court’s concurrent
and pendant jurisdiction. The aggregate amount of damages claimed by the Plaintiff against all

Defendants is in excess of $75,000.00.
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JURISDICTION AND VENUE

2. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1343 (a)(3) in that this action seeks _
to redress the deprivation, under color of law, of rights secured to Plaintiff by the Fourth and
Fourteenth Amendments to the Constitution of the United States of America.

3,  Plaintiff’s claims for relief are predicated on 42 U.S.C § 1983, which authorizes actions to
redress the deprivation, under color of state law, of rights, privileges and immunities secured to
Plaintiff by the Constitution and laws of the United States.

4, Venue is appropriate in this Court as the illegal acts alleged to have been committed by
Defendants against Plaintiff occurred wholly within Indian River County, Florida.

5. A written notice of Plaintiff’s claims asserted was submitted to County Attorney for Indian
River County, Florida, and to the Florida Department of Financial Service on or about March 12,
2023, a copy of which is attached hereto as Exhibit A. No response was received by the Plaintiff,
therefore the allegations contained therein are deemed denied by operation of law.

6. All conditions to bringing this action under state and federal law has occurred or have been
satisfied.

PARTIES

7. Plaintiff, RYAN HOLMES (herein after “HOLMES”), is a citizen of the State of Florida
residing in Indian River County and is otherwise sui juris.

8. Defendant, DEPUTY SHERIFF RICARDO FERRE, (herein after “FERRE”), at all times
material to this action, was employed by the IRCSO as a deputy sheriff. He is sued in his
individual capacity.

9, Defendant, DEPUTY SHERIFF CHRISTIAN MATHISEN, (herein after “MATHINSEN”), at
all times material to this action, was employed by the IRCSO as a deputy sheriff. He is sued in his

individual capacity.
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Defendant, DEPUTY SHERIFF DYLAN FARINACCL, (herein after “FARINACCT’), at all
times material to this action, was employed by the IRCSO as a deputy sheriff. He is sued in his
individual capacity.

Defendant, DEPUTY SHERIFF BRANDO MCKAY, (herein after “MCKAY”), at all times
material to this action, was employed by IRCSO as a deputy sheriff. He is sued in his individual
capacity.

Defendant, INDIAN RIVER COUNTY SHERIFF OFFICE (herein after “IRCSO”) [Dery]
Loar, in his capacity as Sheriff of Indian River County, Florida] is an entity, corporate and
political, duly organized under the laws of the State of Florida. IRCSO is the governmental entity
responsible, as a matter of law, for the actions of its officials, agents, and employees, and was
responsible for their training, supervision, and conduct. IRCSO is also responsible for ensuring
that its police personnel obey the laws of the State of Florida and ensuring that its rules and
regulations are followed and enforced.

UNDERLYING FACTS

On or about early January 2018, RYAN HOLMES (hereinafter “HOLMES”) became separated
from his girlfriend of 12 years, mother of his son and stepson, and was going through a bitter
custody battle, At the time HOLMES worked as a repair specialist with Vero Beach Roofing,
repairing high end homes in Johns Island and the surrounding area.

The separation was precipitated, in large part, by an affair that the mother (Andrea Schulze) of his
child was having with a neighbor. Although HOLMES had never been violent or he had ever
threatened violence in their 12-year relationship, the mother was still able to secure a frivolous
temporary protection order.

In the evening of September 11, 2019, deputies with the Indian River Sheriff Office came to the
house where HOLMES lived to serve him with the temporary protection order signed by Judge

Cynthia Cox, however they were unable to do so.
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16. Deputies came to HOLMES’ house several more times but again, they were unable to serve
HOLMES.

17. Around 1pm on September 13, 2019, HOLMES received a phone call from his ex-girlfriend,
Andrea Schulze.

18. Given the ongoing contentious nature of the separation and custody proceedings, and concern
over potential false accusations that could and had previously come from the mother of his child,
HOLMES recorded every phone conversation he had with her. Schulze had made numerous false
accusations against HOLMES in the past which led him to being arrested.

19. HOLMES occupied the back portion of the home he owns located at 1050 10 PI. in Vero Beach,
FL. and the front portion was rented to a tenant. Both HOLMES and the tenet were home when
he received the phone call from Ms. Schulze.

20. When HOLMES answered his phone, he immediately could tell Ms. Schulze was in distress. She
franticly and repeatedly told HOLMES his life was in immediate danger and that if he didn’t flee
his home immediately, he would be seriously injured or killed. When HOLMES asked who was
coming to his home Ms, Schulze replied, “the cops Ryan”.

21. The phone conversation was short, lasting under two minutes. HOLMES did not believe Ms.
Schulze even after she began sobbing and begging him to leave his residence. The conversation
ended with HOLMES telling Ms. Schulze to leave him alone and then he hung up.

22. HOLMES walked into the front part of his house and was having a conversation with his tenet,
when approximately 5 minutes after ending the phone conversation with Ms, Schulze he heard a
loud “BOOM” echo throughout the house. The noise repeated as HOLMES ran back to his
portion of the home and immediately realized someone was trying to force entry into his home
through the side door.

23. A few months prior, on March 13, 2019, Ms. Schulze had falsely accused HOLMES of breaking
into the home that they use to share. As a result, a warrant was issued, and HOLMES was
arrested. During the arrest HOLMES was tasered by Deputy Chief Campbell while he stood

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peacefully with his hands on his head and then HOLMES was severely beaten while handcuffed
which caused him serious injuries.

The conversation HOLMES had had with Ms. Schulze only minutes prior in combination with
past violent encounters with the IRCSO that had violated his civil rights and left him seriously
injured and the fact that his door was currently being kicked down by unknown assailants,
HOLMES believed his life was in immediate danger and he chose to flee instead of fight.
Without a warrant, probable cause or exigent circumstances, deputies with the IRCSO forced
entry into HOLMES’ home.

HOLMES fled for his life and ran into the safety of his attic to hide.

Curled up in the fetal position HOLMES laid perfectly still in his attic recounting the phone
conversation he had just had with Ms. Schulze. Even though HOLMES knew he had broken no
law, he now believed every word she had just said to him.

Due to the lack of transparency and accountability of the IRCSO it is unknown which deputy
informed Ms. Schulze that a raid was about to take place at HOLMES’ residence, but it is a
undeniable fact that only a member of the IRCSO would possess such privileged information.

At 3:00pm on September 13", 2019, the temperature in Vero Beach Florida was 89.1 degrees,
Holmes was in his attic which likely had a temperature easily exceeding 100 degrees for about an
hour when he saw several large holes open in the drywall ceiling.

At no time while HOLMES was in the attic, or any time before did anyone identify themselves as
law enforcement or did he hear them give any verbal commands.

Over a two-hour period approximately 10 to 12 OC and tear gas cartridges were thrown and shot
at HOLMES by Deputy MATHISEN and other members of the IRCSO.

Deputies went throughout the 2,000sq ft house owned by HOLMES smashing numerous holes in
almost every room of the house. Electrical wiring was cut, HVAC duct work was smashed,

furniture destroyed, insulation ripped down, and the entire attic was covered in chemicals.
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33. HOLMES posed no danger or threat to law enforcement and deputies knew exactly where he was
ever since locating him in the attic. Other than hiding, HOLMES offered no resistance. After
almost three hours of being tortured in his own home, two large holes opened on either side of
HOLMES and for the first time he could faintly hear deputies telling him to jump out of the attic.

34. The deputies were all wearing gas masks making it almost impossible for HOLMES to hear their
voices and commands. HOLMES was extremely and dangerously dehydrated. The chemicals
made it to where he could not talk, could not swallow, his ears were ringing, eyes burning out of
his skull, and his lips were so dry they felt like rubber.

35. When HOLMES landed on the floor of his kitchen, he kept his head down bracing for another
beating like one he had received from Deputy Chief Campbell four months prior.

36. About thirty seconds went by and HOLMES slowly lifted his head. He saw deputies circled all
around him with their guns pointed in his direction. They were wearing gas masks. A voice that
sounded like Darth Vader finally spoke, “this motherfucker isn’t human”, said a deputy.

37. HOLMES was close to death, Paramedics wheeled a stretcher into the living room. HOLMES
was placed on a stretcher and handcuffed to it. A single deputy accompanied HOLMES while
paramedics wheeled him out of his home. This deputy was later identified by videos taken by
bystanders as FARINACCI.

38. When HOLMES was placed on the stretcher and being wheeled outside FARINACCI told him he
was being arrested for trespassing and resisting arrest without violence. HOLMES who was
extremely dehydrated and in intense pain tried to say “water” but a intense pain shot through his
throat preventing him from speaking.

39, As HOLMES was being pushed down the sidewalk leading to the front of his home, he tried
several times until finally he successfully communicated to FARINACCI that he desperately
needed water. FARINACCI looked at HOLMES and shook his head no.

40. A minute later HOLMES and FARINACCI were in the back of an ambulance. Upon seeing a
paramedic who was sitting next to him, HOLMES fought through extreme pain just to again

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muster the word “water’’. The paramedic tumed around as if he was reaching for a bottle of water,
but FARINACCI stopped him. He told the paramedic, “No, he will get some at the hospital.”
Approximately 20 minutes later they arrived at the hospital.

Upon seeing a nurse open the back door of the ambulance, HOLMES again fought through the
pain and said the word “water”. The nurse began to smile but again FARINACCI intervened and
instructed her not to give HOLMES any water. The nurse’s smile quickly faded and turned into a
look of confusion.

HOLMES was wheeled into a hospital room and nurses began treating him for his injuries. The
nurses complied with FARINACCI’S order not to give water to HOLMES. After what seemed
like an eternity several detectives came into the hospital room to serve HOLMES with the
protection order Judge Cox had signed and to ask him questions.

Immediately upon entering the room, one of the detectives handed HOLMES a cold bottle of
water. Obviously, HOLMES would be unable to answer his questions if he couldn’t talk. After
receiving the water HOLMES was then served with the temporary protection order,

HOLMES still had no idea what was going on, why he had been atrested, or why deputies had
just forced entry into his home or why deputies with the IRCSO had almost killed him, The
detectives told him that he had been arrested for trespassing and resisting arrest without violence.
HOLMES, who still believed his life was in danger, was very cooperative and answered all the
questions which were mainly, almost entirely unrelated to the current incident.

At approximately 2:48am on September 14", 2019, HOLMES was booked into the IRC jail.
Upon being booked into jail, HOLMES’ charge was changed from trespassing to stalking. The
resisting arrest without violence charge remained.

A few hours later, around 8am, HOLMES was taken to first appearance. Upon his case being
called a deputy with the IRCSO stood up and asked to speak to the judge. The deputy spoke for
close to five minutes and told the judge HOLMES was a violent and dangerous person and that he
was confident if HOLMES were to be released that he would kill Ms. Schulze. The deputy asked

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the judge to deny HOLMES bail. The judge informed the deputy that Mr. HOLMES had only
been charged with two misdemeanor charges and by law the most he could set bail at was $5,000
per charge.

The judge set bail for $5,000 for each charge. HOLMES posted bail a few hours later and was
released, Ms. Schulze was never killed or physically hurt in any way by HOLMES.

On September 8 2019, Deputy FERRE was dispatched to Ms. Schulze’s home in reference to a
trespassing complaint. FERRE alleges in his probable cause affidavit that “RYAN HOLMES IS
SEEN ON VIDEO SURVEILLANCE FOOTAGE WALKING UP TO HER HOUSE. HOLMES
WALKS UP TO THE FRONT DOOR AND THEN WALKS AWAY. HOLMES IS THEN
SEEN ON VIDEO AGAIN WALKING AROUND THE HOUSE TOWARDS THE SOUTH
PART OF THE HOUSE.”

FERRE never submitted this video as evidence because the video proves his sworn statement of
fact and allegations are false.

FERRE continues making false accusations against HOLMES in his seven-page probable cause
affidavit by alleging HOLMES had sent Ms. Schulze numerous “aggressive” text messages,
None of these alleged text messages were sent by a phone number registered to HOLMES.
FERRE admitted he did not do a IP address search on any of the phone numbers the text
messages were sent from. Even if HOLMES had sent the messages, which he did not, they do not
contain any content that could be considered illegal.

As a result of the false arrest and frivolous charge, including but not limited to HOLMES almost
being killed and the IRCSO did over $35,000 in damage to HOLMES’S house.

Further, as a result of HOLMES having his home raided and being arrested, Ms. Schulze
proceeded to file a motion in family court challenging HOLMES’ custodial right and furthermore

attempting to limit visitation with their son.
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56. Additionally, due to this incident HOLMES permanently lost the possibility of being re-hired by
his previous employer and his ability to secure future employment in Vero Beach was almost
eliminated. HOLMES remained unemployed for several years after this incident.

57. Ms. Schulze submitted the video of HOLMES allegedly ringing her doorbell at the protection
order hearing two weeks later, Judge Cox ruled in Ms. Schulze favor granting her a lifetime
protection order.

58. On November 27, 2019, HOLMES went to court to face the frivolous charges against him.
HOLMES? lawyer, Candace Hawthorne, HOLMES’ mother, Barbara Altman and a family friend
were all present.

59, Ms. Hawthorne verbally demanded that the prosecutor, Gina Kondziola, produce the video in
question. Ms. Kondziola complied with the request and came back a few minutes later with a
laptop.

60. In the hallway of the Indian River County courthouse Ms. Kondziola repeatedly played the video
for HOLMES, Ms. Hathorne and Ms. Altman.

61. The video showed a person who was completely unidentifiable due to it being dark and the
person wearing a hoodie, walking up to Ms. Schulze’s door, ringing the doorbell and then turning
around and walking away.

62. This video was now evidence against FERRE proving that he had intentionally lied in his report
and vindicating HOLMES of any wrongdoing. Even if that was HOLMES, which it was not,
ringing a doorbell and walking away is not a crime.

63. The video would go missing for over three years. The state attorney’s office denied in writing that
they had ever possessed the video. The IRCSO also denied in writing that they had ever
possessed the video and claimed that if they had then it had likely been destroyed.

64, Unknown to HOLMES that while he was being tortured in his own home, his lawyer Candance
Eawthome, had made several calls to deputies and supervisors trying to figure out why they had
forced entry into her clients home and why they were trying to arrest him.

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On September 13, 2019, Barbara Altman, HOLMES’ MOTHER, was illegally detained by
deputies after they had witnessed her using her cell phone to video record them. On a video
recorded by Ms. Altman she is told by a deputy that she is not free to leave.

During the incident Ms. Hawthorne demanded that a warrant be produced but was told by
deputies and members of the SWAT team that there was no warrant. They all told her that Judge
Cynthia Cox had ordered them to force entry into HOLMES’ house and to do whatever is
necessary to get HOLMES out of the attic and were instructed to bring in a crane to remove the
trusses from his house if they had to.

Also unknown to HOLMES during the incident, both his mother and family friend were on scene
during the entire incident and had recorded numerous videos of them talking to deputies.

The video FERRE never submitted as evidence showed beyond a shadow ofa doubt that the
events described by FERRE in his probable cause affidavit were false and fabricated by FERRE.
On December 16", 2019, the state attorney’s office issued a, “no information” for both charges of
stalking and resisting arrest without violence, making HOLMES the prevailing party in the
criminal action.

In January of 2023 HOLMES filed a citizen’s complaint in reference to this incident. Ultimately,
the investigation concluded with all allegations being UNOUNDED. However, the IRCSO
intentionally failed to properly investigate themselves and any of HOLMES’ allegations. No
deputies were interviewed, and no witnesses were interviewed.

As a result of the Defendants actions as described herein, HOLMES and HOLMES ‘minor child,
LH, suffered special damages. The IRSO refused to pay for the catastrophic damage they did to
HOLMES’ house. All the holes in the ceiling were covered up with plywood because HOLMES
could not afford to pay the estimated $8,000 it would cost just to repair the drywall. The HVAC
duct system was a total loss and has never been replaced. Numerous light fixtures and electrical
outlets do not work and have never been repaired. Most of the insulation in the attic had to be
removed because it was covered in OC and tear gas which caused both HOLMES and LH to

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cough and sneeze for years. HOLMES and LH were forced to live in a house with no insulation,
extension cords running all over the floors, and holes all throughout the ceilings of the house for
almost four years because of the Defendants actions.

72. HOLMES suffers from PTSD and other mental disorders directly due to this incident. He has
never felt safe for a single second in his own home since this incident happened. It is still
unknown what physical medical conditions HOLMES may have due to the large amount of OC
and tear gas that he was exposed to.

73. By far the worst consequence of the Defendants actions is what LH was forced to endure. LH’s
mother let two violent gang members (Anthony and Austin Purdenti) move into her home and
nothing HOLMES could do or say could stop LH from repeatedly being victimized and
traumatized by these two men and his mother. HOLMES spent over $30,000.00 in family lawyer
fees trying to remove his son from his mother’s violent and abusive home, but his reputation had
been destroyed.

74. FERRE violated HOLMES’S civil rights, granted to HOLMES by the Fourth, Eighth and
Fourteenth Amendments of the United States Constitution, by: (a) knowingly writing a report he
knew was false (b) charging HOLMES with a crime he knew HOLMES did not commit (c)
intentionally withholding and failing to submit video evidence that proves HOLMES did not
commit a crime (d) charging HOLMES with Trespassing and Loitering and Prowling and then
changing the charges to stalking after HOLMES had already been arrested (e) largely basing his
probable cause on charges HOLMES had been arrested for but not convicted of (f) failing to
properly investigate by not running a IP search of text messages he alleges HOLMES had sent
Ms. Schulze even though they did not come from his phone number.

75, MATHISEN violated HOLMES’S civil rights, granted to HOLMES by the First, Fourth, Eighth
and Fourteenth Amendments of the United States Constitution by: (a) entering onto HOLMES
property an into HOLMES’S home without a warrant or probable cause; (b) used unnecessary,
and excessive force on the person of HOLMES depriving him of life, liberty, and due process of

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law; (c) failed to issue any verbal commands, failed to identify himself as law enforcement; (d)
retaliated against HOLMES for past comments he had made; (e) used an excessive, dangerous
and potential deadly amount of OC and tear gas to arrest HOLMES who was hiding in a attic
which had no ventilation and which was very small in square footage; (f) needlessly caused
approximately $30,000.00 to the home and property of HOLMES; (g) made false statements on
his arrest affidavit; (h) intentionally inflicted emotional and physical distress.

76. FARINACCI violated HOLMES’S civil rights, granted to HOLMES by the Fourth, Eighth and
Fourteenth Amendments of the United States Constitution by: (a) torturing HOLMES while he
was in his custody; (b) refusing to provide proper medical treatment while HOLMES was in his
custody; (c) refusing to allow paramedics and nurses at the hospital to provide proper medical
care for HOLMES while he was in his custody.

77. WHITE violated HOLMES civil rights, granted to HOLMES by the Fourth, Eighth, and
Fourteenth Amendments of the United States Constitution, by: (a) providing false statements in
his arrest report to attempt to justify the illegal actions of himself and other deputies; (b) allowing
other deputies to use excessive force against HOLMES and failing to intervene; (c) illegally
entering HOLMES’ home; (d) intentionally inflicted emotional and physical distress.

78. MCKAY violated HOLMES civil rights, granted to HOLMES by the Fourth, Eighth, and
Fourteenth Amendments of the United States Constitution, by: (a) wrongfully arresting and
charging HOLMES with resisting arrest without violence; (b) illegally entering HOLMES’ home;
(c) allowing other Deputies to use excessive force on HOLMES.

79. All the foregoing violations of HOLMES civil rights caused him injury and damages. These
violations were of the type and character as to which any reasonable person would be aware, and
further, the law prohibiting such conduct as unconstitutional is clearly established in Florida,
including, but not limited to, the case law of Federal Court of Appeals of the United States, 11"

circuit, and the U.S. Supreme Court.

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80. LOAR, as Sheriff of Indian River County at the time of this incident, was responsible for the
proper and efficient training of deputy sheriffs, the investigation and admonishment of deputy
sheriffs, in addition to the enforcement of the laws, regulations, policies, practices and procedures
of IRSO, the laws, regulations and Constitution of the State of Florida, and the laws, regulations
and Constitution of the United States.

81. LOAR, as Sheriff of Indian River County at the time of this incident, was responsible for the
investigation of the improper acts of the officers and personnel of the IRSO for their violations of
the law and the General Orders of the IRSO.

82. LOAR intentionally refused to allow body cameras to be worn by his deputies because he knew
the cameras would provide evidence of wrongdoing and civil rights violations against his
deputies. Despite overwhelming support and demands from the community and civil rights
organizations that LOAR implement a policy forcing his deputies to wear body cameras, LOAR
refused. Instead of body cameras LOAR used the money to hire more deputies.

83. LOAR used and allowed his internal affairs department to clear deputies of illegal acts and IRSO
rule polices they had committed.

COUNT I: 42 U.S.C. § 1983 DEPRIVATION OF PLAINTIFF’S CIVIL RIGHTS

AGAINST FERRE

(SEARCH AND SEIZURE WITHOUT WARRANT OR PROBABLE CAUSE)

84. Plaintiff hereby incorporates by reference the allegations contained in paragraph 1 through 83.

85. The actions of FERRE occurred within his scope of employment with IRCSO, under color of law,
having occurred within the authorized time and space limits of his duties and for a purpose to
serve LOAR.

86. At all times material hereto, FERRE had a legal duty not to subject HOLMES to unreasonable
search and seizure, without probable cause, warrant or exigent circumstances.

87. On September 13, 2019, FERRE subjected HOLMES to unreasonable search and seizure, without
probable cause, warrant or exigent circumstances.

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FERRE violated HOLMES rights under the Fourth and Fourteenth Amendments to the
Constitution of the United States and violated HOLMES civil right to be free from unreasonable
searches and seizures, by entering onto HOLMES property and entering his home, without a
search warrant, probable cause or exigent circumstances.
These violations were of a type or character as to which any reasonable person would be aware,
and further, the law prohibiting such conduct as unconstitutional is clearly established in Florida,
in federal case law, including that of Federal Court of Appeals of the United States, 11" Circuit,
and under the case law of the U.S. Supreme Court.
The aforesaid acts of FERRE were performed knowingly, intentionally, and maliciously, and/or
were performed in a reckless manner with callous and deliberate indifference to the health, safety
and civil rights of HOLMES, and for this reason HOLMES is entitled to an award of punitive
damages,
As a direct and proximate result of the unlawful conduct of FERRE, HOLMES was deprived of
his civil rights and forced to suffer great aggravation, humiliation, embarrassment, mental
anguish, serious physical injuries, loss of standing in the community, loss of timesharing with
LH, and pecuniary losses including loss of income and loss of earning capacity.
WHEREFORE, Plaintiff demands judgement against FERRE for compensatory and
punitive damages and costs and any other relief this Court deems appropriate.

COUNT Ik: 42 U.S.C. § 1983 DEPRIVATION OF PLAINTIFF’S CIVIL RIGHTS

AGAINST MATHISEN

(SEARCH AND SEIZURE WITHOUT WARRANT OR PROBABLE CAUSE)

Plaintiff hereby incorporates by reference the allegations contained in paragraph | through 83.
The actions of MATHISEN occurred within his scope of employment with IRCSO, under color
of law, having occurred within the authorized time and space limits of his duties and for a

purpose to serve LOAR.

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94, Atall times material hereto, MATHISEN had a legal duty not to subject HOLMES to
unreasonable search and seizure, without probable cause, warrant or exigent circumstances.

95. On September 13, 2019, MATHISEN subjected HOLMES to unreasonable search and seizure,
without probable cause, warrant or exigent circumstances.

96. MATHISEN violated HOLMES rights under the Fourth and Fourteenth Amendments to the
Constitution of the United States and violated HOLMES civil right to be free from unreasonable
searches and seizures, by entering onto HOLMES property and entering his home, without a
search warrant, probable cause or exigent circumstances.

97, These violations were of a type or character as to which any reasonable person would be aware,
and further, the law prohibiting such conduct as unconstitutional is clearly established in Florida,
in federal case law, including that of Federal Court of Appeals of the United States, 11 Circuit,
and under the case law of the U.S. Supreme Court.

98. The aforesaid acts of MATHISEN were performed knowingly, intentionally, and maliciously,
and/or were performed in a reckless manner with callous and deliberate indifference to the health,
safety and civil rights of HOLMES, and for this reason HOLMES is entitled to an award of
punitive damages.

99. As a direct and proximate result of the unlawful conduct of MATHISEN, HOLMES was deprived
of his civil rights and forced to suffer great aggravation, humiliation, embarrassment, mental
anguish, serious physical injuries, loss of standing in the community, loss of timesharing with
LH, and pecuniary losses including loss of income and loss of earning capacity.

WHEREFORE, Plaintiff demands judgement against MATHISEN for compensatory and
punitive damages and costs and any other relief this Court deems appropriate.

COUNT Hl: 42 U.S.C. § 1983 DEPRIVATION OF PLAINTIFE’S CIVIL RIGHTS

AGAINST WHITE

(SEARCH AND SEIZURE WITHOUT WARRANT OR PROBABLE CAUSE)

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100. Plaintiff hereby incorporates by reference the allegations contained in paragraph 1
through 83.
101. The actions of WHITE occurred within his scope of employment with IRCSO, under

color of law, having occurred within the authorized time and space limits of his duties and for a
purpose to serve LOAR.

102. At all times material hereto, WHITE had a legal duty not to subject HOLMES to
unreasonable search and seizure, without probable cause, warrant or exigent circumstances.

103. On September 13, 2019, WHITE subjected HOLMES to unreasonable search and seizure,
without probable cause, warrant or exigent circumstances.

104. WHITE violated HOLMES rights under the Fourth and Fourteenth Amendments to the
Constitution of the United States and violated HOLMES civil right to be free from unreasonable
searches and seizures, by entering onto HOLMES property and entering his home, without a
search warrant, probable cause or exigent circumstances.

105. These violations were of a type or character as to which any reasonable person would be
aware, and further, the law prohibiting such conduct as unconstitutional is clearly established in
Florida, in federal case law, including that of Federal Court of Appeals of the United States, 11"
Circuit, and under the case law of the U.S. Supreme Court.

106. The aforesaid acts of WHITE were performed knowingly, intentionally, and maliciously,
and/or were performed in a reckless manner with callous and deliberate indifference to the health,
safety and civil rights of HOLMES, and for this reason HOLMES is entitled to an award of
punitive damages.

107. As a direct and proximate result of the unlawful conduct of WHITE, HOLMES was
deprived of his civil rights and forced to suffer great aggravation, humiliation, embarrassment,
mental anguish, serious physical injuries, loss of standing in the community, loss of timesharing

with LH, and pecuniary losses including loss of income and loss of earning capacity.

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WHEREFORE, Plaintiff demands judgement against WHITE for compensatory and

punitive damages and costs and any other relief this Court deems appropriate.

COUNT IV: 42 U.S.C. § 1983 DEPRIVATION OF PLANTLIFE’S CIVIL RIGHTS AGAINST

MCKAY

(FALSE ARREST AND IMPRISONMENT)

108. Plaintiff hereby incorporates by reference the allegations contained in paragraph |
through 83.
109. MCKAY, without process or authority of law, wrongfully, unlawfully, against

HOLMES’ will, and without probable cause, forcibly arrested and restrained HOLMES.
110. HOLMES, at the time he was arrested and imprisoned, was acting peacefully and in a
lawful manner. No warrant for HOLMES’ arrest and imprisonment was ever issued until

September 14, 2019, after HOLMES had already been arrested.

111. The arrest was not objectively reasonable under the totality of the circumstances.

112. The arrest and detention were not objectively reasonable under the totality of the
circumstances.

113. The aforesaid acts of MCKAY were performed knowingly, intentionally, and

maliciously, and/or were performed in a reckless manner with callous and deliberate indifference
to the health, safety and civil rights of HOLMES, and for this reason HOLMES is entitled to an
award of punitive damages.

114. By reason of the above, HOLMES was deprived of his liberty and has been caused great
physical and mental suffering, aggravation, humiliation, embarrassment, mental anguish, serious
physical injuries, loss of standing in the community, loss of timesharing with LH, and pecuniary
losses including loss of income and loss of earning capacity.

WHEREFORE, Plaintiff demands judgement against MCKAY for compensatory and
punitive damages and costs and any other relief this Court deems appropriate.

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COUNT V: 42 U.S.C. § 1983 DEPRIVATION OF PLANTIFF'S CIVIL RIGHTS

FERRE-DEFAMATION

115. Plaintiff hereby incorporates by reference the allegations contained in paragraph 1
through 83.
' 116, The actions of FERRE occurred within his scope of employment with IRCSO, under

color of law, having occurred within the authorized time and space limits of his duties and for a
purpose to serve LOAR.

117. Atall times material hereto, FERRE had a legal duty not to subject HOLMES to false
statements of fact in relation to HOLMES having committed a crime.

118. Sometime between September 8, 2019, through September 13, 2019, FERRE defamed
HOLMES by making false statements of fact as to HOLMES in a fabricated probable cause
affidavit, including accusing HOLMES of repeatedly coming to the home of Ms. Schulze and it
being video recorded and shown to him.

119. FERRE never submitted the video into evidence in which he claims to have seen
HOLMES repeatedly come onto the property of Anderea Schulze. If he had submitted the video
as evidence, then he would have been caught red handed lying.

120. FERRE also claims and accuses HOLMES of sending Ms. Schulze numerous text
messages that did not come from his phone number. FERRE did not do a IP search of any of the
numbers associated with the texts.

121. The Plaintiff was able to obtain the video is question several years later from the IRC
courthouse. The video shows an unidentifiable person walking up to the door of Ms. Schulze’s
home, ringing a doorbell and a few seconds later walking away. The video is a direct

contradiction to FERRE’S description of facts in his probable cause affidavit.

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122. FERRE knew the statements he made in his probable cause affidavit were false and.
defamatory but did so with the intent to injure HOLMES in connection with his custody
proveedings and to harm HOLMES’ reputation in the community and financial standing.

123.- FERRE claims to have been able to identify HOLMES as the person in Ms. Schulze’s_
video even though the person is unrecognizable in the video and even though FERRE had never
met HOLMES im person.

124, Given the malicious intent and background surrounding FERRE’S actions, his false
statements of fact were not privileged.

125. FERRE violated HOLMES’S rights under the Constitution of the United States and
violated HOLMES right to be free from false statements of fact by a sheriff deputy acting under
the color of law.

126. FERRE knew or should have known and every reasonable deputy sheriff in his position
would have concluded that HOLMES has a constitutional right not to be defamed by a deputy
sheriff making false statements of fact, which the deputy sheriff knew were false and defamatory.

127, These violations were of a type or character as to which any reasonable person would be
aware, and further, the law prohibiting such conduct as unconstitutional is clearly established in
Florida, in federal case law, including that of Federal Court of Appeals of the United States, 11"
Circuit, and under the case law of the U.S. Supreme Court.

128. The aforesaid acts of FERRE were performed knowingly, intentionally, and maliciously,
and/or were performed in a reckless manner with callous and deliberate indifference to the health,
safety and civil rights of HOLMES, and for this reason HOLMES is entitled to an award of
punitive damages.

129. As a direct and proximate result of the unlawful conduct of FERRE, HOLMES was
deprived of his civil rights and forced to suffer great aggravation, humiliation, embarrassment,
mental anguish, serious physical injuries, loss of standing in the community, loss of timesharing
with LH, and pecuniary losses including loss of income and loss of earning capacity.

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130. As a direct result and proximate result of FERRE’S civil rights violations, HOLMES
suffered damage to his reputation which resulted in loss of esteem, standing, and responsibility
both in the community and in his workplace.

131. The damage FERRE caused to HOLMES’S reputation directly caused or substantially
contributed to HOLMES not being rehired by his employer Vero Beach Roofing.

132. The damage FERRE caused to HOLMES’ reputation substantially contributed to
HOLMES losing numerous family court hearings before finally being awarded full temporary
custody of LH in May of 2022. The Plaintiff estimates he has paid over $30,000 in family lawyer
fees.

WHEREFORE, Plaintiff demands judgement against FERRE for compensatory and

punitive damages and costs and any other relief this Court deems appropriate.

COUNT VI: 42 U.S.C. § 1983 DEPRIVATION OF PLANTIFE’S CLVIL RIGHTS

(WHITE -DEFAMATION)

133. Plaintiff hereby incorporates by reference the allegations contained in paragraph |
through 83.
134, The actions of WHITE occurred within his scope of employment with IRCSO, under

color of law, having occurred within the authorized time and space limits of his duties and for a
purpose to serve LOAR.

135. At all times material hereto, WHITE had a legal duty not to subject HOLMES to false
statements of fact.

136. WHITE defamed HOLMES by making several false statements of fact on his arrest
report and case narrative as to HOLMES being a violent and dangerous individual who has a
history of violence and violence towards law enforcement.

137, WHITE knew the statements were false and defamatory but did so with the intent to try
and justify his actions and the actions of other deputies who had illegally forced entry into

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HOLMES’ home and caused catastrophic damage and tortured HOLMES for several hours before
arresting him for a minor crime that he did not commit.

138. Given the malicious intent and background surrounding WHITE’S actions, his false
statements of fact were not privileged.

139, WHITE violated HOLMES’S rights under the Constitution of the United States and
violated HOLMES’S right to be free from false statements of fact by a sheriff deputy acting under
the color of law.

140. WHITE knew or should have known and every reasonable deputy sheriff in his position
would have concluded that HOLMES has a constitutional right not to be defamed by a deputy
sheriff making false statements of fact, which the deputy sheriff knew were false and defamatory.

141. These violations were of a type or character as to which any reasonable person would be
aware, and further, the law prohibiting such conduct as unconstitutional is clearly established in
Florida, in federal case law, including that of Federal Court of Appeals of the United States, 11"
Circuit, and under the case law of the U.S. Supreme Court.

142, The aforesaid acts of WHITE were performed knowingly, intentionally, and maliciously,
and/or were performed in a reckless manner with callous and deliberate indifference to the health,
safety and civil rights of HOLMES, and for this reason HOLMES is entitled to an award of
punitive damages.

143. As a direct and proximate result of the unlawful conduct of WHITE, HOLMES was
deprived of his civil rights and forced to suffer great aggravation, humiliation, embarrassment,
mental anguish, serious physical injuries, loss of standing in the community, loss of timesharing
with LH, and pecuniary losses including loss of income and loss of earning capacity.

144, As a direct result and proximate result of WHITE’S civil rights violations, HOLMES
suffered damage to his reputation which resulted in loss of esteem, standing, and responsibility

both in the community and in his workplace.

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145. The damage WHITE caused to HOLMES’ reputation substantially contributed to
HOLMES losing numerous family court hearings before finally being awarded full temporary
custody of LH in May of 2022. The Plaintiff estimates he has paid over $30,000 in family lawyer
fees.

146. HOLMES HAS NEVER ONCE BEEN VIOLENT TOWARDS LAW
ENFORCEMENT. HOLMES HAS NEVER ONCE IN THEIR 12 YEAR RELATIONSHIP
OR AT ANY TIME THEREAFTER BEEN VIOLENT OR THREATENED VIOLENCE
TOWARDS MS. SCHULZE. HOLMES HAS NEVER ONCE SINCE THE DAY HE WAS
BORN BEEN VIOLENT TOWARDS LH NOR HAS LH EVER WITNESSED HOLMES
USE VIOLENCE TOWARDS ANYONE.

WHEREFORE, Plaintiff demands judgement against WHITE for compensatory and

punitive damages and costs and any other relief this Court deems appropriate.

COUNT VIL 42 U.S.C. § 1983 DEPRIVATION OF PLANTLIFEF’S CIVIL RIGHTS

(MATHISEN-EXCESSIVE FORCE)

147. Plaintiff hereby incorporates by reference the allegations contained in paragraph 1
through 83.
148. The actions of MATHISEN occurred within his scope of employment with IRCSO, under

color of law, having occurred within the authorized time and space limits of his duties and for a
purpose to serve LOAR.

149. At all times material hereto, MATHISEN had a legal duty not to subject HOLMES to
excessive and unnecessary force.

150. On September 13,2019, MATHISEN used excessive and unnecessary force while
attempting to arrest HOLMES for a non-violent, misdemeanor crime that he did not commit and

in doing so deprived HOLMES of life, liberty, and the due process of law.

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151. MATHISEN failed to identify himself as law enforcement before he and other members
of IRCSO forced entry in HOLMES home, failed to issue verbal commands to HOLMES who
was hiding in his attic. HOLMES was hiding in his attic and posed no threat to MATHISEN and
law enforcement. At all times after locating HOLMES in the attic, MATHISEN knew where
HOLMES was located. Instead of simply arresting HOLMES, MATHISEN spent several hours

- torturing HOLMES in his own home. By MATHISEN’S own admission in his arrest report he
threw/shot at least 6 OC gas canisters at HOLMES. MATHISEN knew HOLMES was in a attic
. with little to no ventilation. MATHISEN also knew the square footage of the attic HOLMES was
hiding in was very small. Despite these facts MATHISEN continued to throw/shoot canister after
canister at HOLMES who offered no resistance other than hiding for fear of his life.

152. After several hours of being gassed by MATHISEN, HOLMES fell/jumped out of the
attic and was taken into custody.

153. In order for MATHISEN to throw and shoot gas canisters at HOLMES, MATHISEN
smashed holes in the ceiling all throughout the house owned by HOLMES causing catastrophic
damage. The exact cost of the damage is unknown because HOLMES has been unable to pay for
the repairs despite this incident happening almost four years ago.

154, MATHISEN’S use of force was clearly unreasonable and excessive. The amount of gas
that MATHISEN used far exceeded the manufacturers recommended amount that should be used
at any one time on a human being in such a small area. At no time did HOLMES consent to such
bodily harm/offensive conduct.

155. MATHISEN likely used excessive force on HOLMES because of past encounters he had
had with HOLMES which had embarrassed MATHISEN and hurt his ego.

156. As a direct and proximate result of MATHISEN’S acts, omissions, and clear use of
excessive force, MATHISEN deprived HOLMES of the rights guaranteed to him by the Fourth

and Fourteenth Amendments of the United States Constitution.

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157. HOLMES claims damages for physical injuries, mental suffering, damage to HOLMES
reputation, damage to HOLMES home, deprivation of his civil rights, and any and all further
relief this Court deems appropriate.

WHEREFORE, Plaintiff demands judgement against MATHISEN for compensatory and

punitive damages and costs and any other relief this Court deems appropriate.

COUNT VII: 42 U.S.C. § 1983 DEPRIVATION OF PLANTIFE’S CIVIL RIGHTS

(FARINACCI-FAILURE TO PROVIDE MEDICAL TREATMENT)

158. Plaintiff hereby incorporates by reference the allegations contained in paragraph 1
through 83.
159, The actions of FARINACCI occurred within his scope of employment with IRSO, under

color of law, having occurred within the authorized time and space limits of his duties and for a
purpose to serve LOAR.

160. At all times material hereto, FARINACCI had a legal duty to provide medical assistance
to HOLMES once he was in his custody.

161. The Due Process Clause of the Fourteenth Amendment requires government officials to
provide medical care to individuals who have been injured during apprehension by law
enforcement.

162. FARINACCI knew that after HOLMES had been in a attic with temperatures well above
100 degrees for several hours and having had over ten canisters of OC and tear gas thrown in very
close proximity of his person, HOLMES was in desperate need of water.

163. HOLMES was tortured by FARINACCI who refused to provide or let others provide
basic medical treatment.

164, HOLMES was extremely dehydrated and was in extreme suffering and FARINCACCI

knew it as any reasonable person would of.

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165. HOLMES had a serious BUT simple medical need, water. HOLMES?’ desperate need for
water was readily available to FARRINACCI to provide to HOLMES, yet he refused. Not only
did he refuse to provide HOLMES with water, but he refused to allow the ambulance paramedic
who was transporting HOLMES to the hospital to give him water and he also refused to allow
staff at the hospital to provide HOLMES with water.

166. FARRINACCI disregarded the risk of serious harm and his conduct amounted to more
than gross negligence, FARRINACCI tortured HOLMES.

167. FARRINACCI intentionally delayed the treatment of HOLMES?’ serious and relevant
medical need and in doing so violated HOLMES’ Eighth Amendment and did cause wanton
infliction of pain.

168. Several hours after being placed in FARRINACCI’S custody, HOLMES was finally
given water by the detectives who came to the hospital to serve him with a protection order.

169, As a direct and proximate result of FARRINACCI’S acts, omissions, and denial of
medical treatment, FARRINACCI deprived HOLMES of the rights guaranteed to him by the
Fourth, Eighth, and Fourteenth Amendments of the United States Constitution.

170. HOLMES claims damages for physical injuries, mental suffering, damage to HOLMES’
reputation, damage to HOLMES’ home, deprivation of his civil rights, and all further relief this
Court deems appropriate.

WHEREFORE, Plaintiff demands judgement against FARRINACCI for compensatory

and punitive damages and costs and any other relief this Court deems appropriate.

COUNT VILE 42 U.S.C. § 1983 DEPRLVATION OF PLANTIFE’S CIVIL RIGHTS AGAINST

INDIAN RIVER COUNTY SHERIFF OFFICE |JLOAR]

171. Plaintiff hereby incorporates by reference the allegations contained in paragraph 1

through 83.

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172. At all times, LOAR was responsible for IRSO, its agents and employees, including
supervising, overseeing, training and establishing policies, customs and procedures to conform.
their conduct to the United States Constitution and Florida common law.

173. At all times material hereto, LOAR was charged with the responsibility of adopting and
implementing rules and procedures for the proper and efficient maintenance, supervision and

control of the officers of the IRSO. These duties include but are not limited to:

a. ‘To create, adopt and implement rules, regulations, practices and procedures, toward hiring
and retaining law enforcement officers who do not have a propensity of using excessive force
through sadistic violence on a citizen who was peacefully residing in the safety of his own
home.

b. To create, adopt and implement rules, regulations, practices and procedures, toward hiring
and retaining law enforcement officers who do not have a propensity witnessing other
officers/supervisors violate a citizen’s civil rights and not reporting it.

c. To create, adopt and implement rules, regulations, practices and procedures, toward hiring
and retaining law enforcement officers who do not have a propensity for torturing citizens.

d. To implement rules, regulations, policies, practices and procedures for the proper and
efficient supervision, discipline and control of law enforcement officers to reduce or
eliminate instances of lying and to properly punish those officers who commit same.

e. To implement rules, regulations, policies, practices and procedures necessary to properly and
fully investigate claims by citizens that law enforcement officers used unnecessary and
excessive force in the course of their duties.

f. To implement rules, regulations, policies, practices and procedures necessary to identify and
terminate employees and supervisors that repeatedly use excessive force and unprovoked

violence towards citizens.

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174. LOAR had a legal duty to HOLMES to exercise reasonable care and judgment in hiring,
training and retaining safe and competent employees and supervisors. LOAR knew or should of
known that MATHISEN, WHITE, MCKAY, FARINACCI, and FERRE were dangerous and
failed to take any action to terminate their employment or relieve him of their duties. LOAR

failed in his duty and that failure caused HOLMES damage.

175. LOAR failed to adequately train and supervise and direct IRCSO and its deputy sheriffs
and their supervisors concerning the rights of the citizens they encounter in their duties, such that
it is a policy, custom and practice for deputy sheriffs, including FARINACCI, WHITE ,
MCKAY, MATHISEN, and FERRE to take reckless and extreme actions against the citizens they
encounter, including HOLMES.

176. LOAR was on notice, by a history of widespread abuse and violence, the need to correct
the dangerous and extreme actions of IRCSO and of its supervisors and its deputy sheriffs
concerning the rights of the citizens they encountered in the course of their duties. It was LOAR’s
policy, practice and custom for sheriff deputies to take extreme and violent actions against the
citizens they encountered, including HOLMES.

177. The need for better training and competent supervisors was so obvious but LOAR
instead made a conscious NOT to provide body cameras to his deputies. And in doing so LOAR
allowed his deputies to spread corruption throughout the entire sheriff's department including into
the minds, hearts and minds of many deputy sheriffs. LOAR’s conscious choice not to act has

resulted in the violation of HOLMES?’ civil rights.

178. With disregard of the rights of the citizens that IRCSO and its deputies encounter, LOAR
has deliberately either failed to direct, failed to fully require, or has tried to limit, IRCSO and
others in the proper investigation of the extreme and unlawful acts of his deputy sheriffs. It was

LOAR’S policy and practice of limiting investigations of sheriff deputies with very little or no

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serious questions raised regarding the deputy sheriffs’ actions or to the claims made by citizens

against a deputy sheriff.

179. Because investigations were limited and were not properly investigated, findings of no
excessive force and accepting the deputy sheriffs’ word as truth and somehow finding
justification for his sheriff deputies extreme and violent behavior, LOAR has consented to the
deputy sheriffs unlawful conduct.

180. If LOAR had not consciously engaged in the foregoing by keeping a blind eye to the
actions of his sheriff deputies and their supervisors, and would of properly investigated and
punished (including termination and charging deputies with crimes that they committed) sheriff
deputies who violated the law and IRCSO policy, then the actions of WHITE, MCKAY, FERRE,
FARINACCI and MATHISEN would of never taken place and the damages HOLMES suffered
would not of occurred and there would have been no need to bring this lawsuit.

181. The actions in this case committed by WHITE, MCKAY, , FARINACCI, FERRE AND
MATHISEON were caused by the policies, practices and customs of LOAR in the failing of his

duties as previously alleged in this Complaint.

182. If sheriff deputies would have known that they were not free to lie on police reports and
write false narratives, then it is likely Deputies would of never of arrested HOLMES and if they
had, only used the appropriate level of force necessary to arrest HOLMES.

183. In addition to the policies, customs and practices referenced above, LOAR was grossly
negligent, reckless and deliberately disregarded the health, safety and welfare of HOLMES and
the citizens of Indian River County in that LOAR expressly acknowledged and approved to the
failure to properly train, supervise, control and review for continued employment, the conduct of
WHITE, MCKAY, MATHISON, FARINACCI, AND FERRE. And as a result, LOAR had
reason to know that WHITE, MCKAY, MATHISON, FARINACCI, AND FERRE would act

unlawfully, and he failed to stop their actions.

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184, The gross negligence, deliberate, and reckless behavior of LOAR identified above was a
further underlying cause of the constitutional violations committed by WHITE, MCKAY,
MATHISON, FARINACCI, AND FERRE and was the immediate cause of HOLMES’ injuries
and damages mentioned above.

185. The Plaintiff reserves the right to amend the Complaint to correct legal errors or
omissions due to his inexperience in legal matters, or to supplement additional information,
which is revealed through discovery, or for any other reason. Plaintiff asks this Court to recognize
the fact that Pro Se litigants’ pleadings are to be construed liberally and held to less stringent
standards than lawyers.

WHEREFORE, Plaintiff demands judgment against LOAR, for actual
damages, pain, suffering and emotional distress, special damages including past and future lost
earnings, special damages including the damage done to HOLMES’ home, crippling anxiety
necessitated solely by WHITE, MCKAY, MATHISON, FARINACCL, AND FERRE illegal and
improper acts, and demands a jury trial of all issues triable.

COUNT X: NEGLIGENCE STATE LAW CLAIM AGAINST MATHISEN

186. Plaintiff hereby incorporates by reference the allegations contained in paragraph |
through 83.

187. MATHISEN owes a duty of care in the force used when apprehending a potential
suspect.

188. MATHISEN breached this duty by ambushing the Plaintiff in his home and unnecessarily
causing catastrophic damage to his home while trying to arrest him for a minor crime.

189. MATHISEN also breached this duty by needlessly throwing and shooting an excessive
amount of tear and OC gas at the Plaintiff who was in a attic with very low square footage and
with no ventilation.

190. These acts caused severe physical and emotional harm to the Plaintiff.

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191. - Defendants, IRCSO and LOAR, failed to properly train MATHISEN, to ensure that he
was fully aware of the proper use of force.

192. Defendants, IRCSO and LOAR, are vicariously liable for the actions of its employee,
Deputy MATHISEN, as he was employed by them and working at the time of the incident within
the scope of his employment.

193. As a direct and proximate result of MATHISEN’S negligence, the Plaintiff, RYAN
EHOLMES, has suffered serious and permanent personal injuries and will in the future, suffer
damages, including but not limited to the following: bodily injuries, pain and suffering, severe
mental anguish, loss of the enjoyment of life, and loss of earning capacity.

WHEREFORE, Plaintiff demands judgement against MATHISEN for compensatory and

punitive damages and costs and any other relief this Court deems appropriate.

COUNT XI: NEGLIGENT HIRING, RETENTION AND SUPERVISON BY INDIAN RIVER

COUNTY SHERIFF'S OFFICE [LOAR] STATE LAW CLAIM

194. Plaintiff hereby incorporates by reference the allegations contained in paragraph |
through 83.
195. At all times material, the deputies and detectives were under the direction, supervision,

and control of the Defendant, INDIAN RIVER COUNTY SHERIFF OFFICE [LOAR], either

directly or through its agents,

196. At all times material, the Defendant, INDIAN RIVER COUNTY SHERIFF OFFICE
[LOAR], either directly or through its agents, negligently hired, retained and/or supervised its
deputies and detectives when the Defendant knew or should have known that a failure to properly
evaluate its deputies on their understanding, knowledge and training on how to properly
investigate an alleged crime and on how to properly apprehend a subject and the level of force to

use and when to use it could result in injury.

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197, Despite this knowledge, the IRCSO [LOAR] failed to exercise reasonable care in hiring,
retaining, and/or supervising its deputies.

198. As a direct and proximate cause of the acts described above, the Plaintiff suffered serious
and permanent personal injuries and will in the future, suffer damages including, but not limited
to the following: bodily injuries, pain and suffering, severe mental anguish, lost capacity of the
enjoyment of life, and loss of earning capacity.

WHEREFORE, Plaintiff demands judgement against IRCSO [LOAR] for actual
compensatory damages, pain, suffering, emotional distress and demands a jury trial of all

issues triable.

COUNT XI: BATTERY STATE LAW CLAIM AGAINST MATHISEN AND LOAR

199, MATHISEN committed an illegal, unjustified touching (throwing/shooting numerous gas
canisters at HOLMES) of HOLMES without his permission, causing him damages.

200. As MATHISEN’S employer, LOAR was responsible for his acts and is liable to
HOLMES for his damages, including pain and suffering, loss of capacity of life, mental suffering,
physical suffering, shame, loss of timesharing with LH, and has been inconvenienced and
suffered loss to his reputation and resulting pecuniary losses including loss of income and loss of
income and loss of earning capacity.

201. WHEREFORE, Plaintiff demands judgement against MATHISEN and LOAR for actual
compensatory damages, pain, suffering, emotional distress and demands a jury trial of all issues

triable.

COUNT XU: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS STATE LAW

CLAIM AGAINST FERRE

202. FERRE intentionally or with extreme recklessness, falsely accused, filed a fabricated and

false probable cause affidavit in which HOLMES was falsely arrested. FERRE fabricated

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falsehoods in support of his actions, providing false sworn statements, affecting HOLMES’ right
to have custody of LH and the ability to earn an income.

203. FERRE’S conduct was outrageous, as to go beyond all bounds of decency, and is
regarded as odious and utterly intolerable in a civilized community.

204. The actions of FERRE caused HOLMES emotional distress, which is severe and
continues to this day. This has resulted in HOLMES enduring pain and suffering, loss of capacity
of life, mental suffering, shame, public ridicule, and has been inconvenienced and suffered
pecuniary losses, including loss of income and loss of earning capacity.

WHEREFORE, Plaintiff demands judgement against FERRE for actual compensatory
damages, pain, suffering, emotional distress and demands a jury trial of all issues triable.

COUNT XIU: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS STATE

LAW CLAIM AGAINST WHITE

205, Plaintiff hereby incorporates by reference the allegations contained in paragraph 1
through 83 .
206. WHITE intentionally or with extreme recklessness, falsely accused, filed a fabricated and

false case narrative to try and justify the illegal acts of himself and fellow deputies. WHITE
fabricated falsehoods in support of his actions, intentionally lied about HOLMES being violent
towards law enforcement and others and intentionally tried to deceive others into believing
HOLMES was a violent person. WHITE’S actions affecting HOLMES’ right to have custody of
LH and the ability to earn an income.

207. WHITE’S conduct was outrageous, as to go beyond all bounds of decency, and is
regarded as odious and utterly intolerable in a civilized community.

208. The actions of WHITE caused HOLMES emotional distress, which is severe and
continues to this day. This has resulted in HOLMES enduring pain and suffering, loss of capacity
of life, mental suffering, shame, public ridicule, and has been inconvenienced and suffered
pecuniary losses, including loss of income and loss of earning capacity.

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WHEREFORE, Plaintiff demands judgement against WHITE for actual compensatory
damages, pain, suffering, emotional distress and demands a jury trial of all issues triable.

COUNT XV: ASSAULT AND BATTERY AGAINST INDIAN RIVER COUNTY

SHERIFF OFFICE [LOAR] STATE CLAIM

209, Plaintiff hereby incorporates by reference the allegations contained in paragraph 1
through 83 .
210. While acting within the course and scope of their employment with INDIAN RIVER

COUNTY SHERIFF OFFICE [LOAR], Defendants, WHITE, MATHISEN, FARINACCI,
MCKAY, and FERRE attacked Plaintiff, with the intention of brining about a harmful or
offensive contact on the Plaintiff.

211. WHITE, MATHISEN, FARINACCI, MCKAY, and FERRE unlawfully touched Plaintiff
without the Plaintiff's consent and caused severe bodily injury to the Plaintiff, as a result of said
harmful, offensive and unlawful touching.

212. As a direct and proximate result of said unlawful touching, Plaintiff suffered serious and
permanent personal injuries and will in the future, suffer damages including, but not limited to
bodily injuries, pain and suffering, severe mental anguish, lost capacity of the enjoyment of life,
and loss of earning capacity.

WHEREFORE, Plaintiff demands judgement against IRCSO [LOAR] for actual
compensatory damages, pain, suffering, emotional distress and demands a jury trial of all issues
triable.

COUNT XVI; INTENTIONAL INFLICTION OF PHYSICAL PAIN AND SUFFERING

STATE LAW CLAIM AGAINST FARINACCI

213. Plaintiff hereby incorporates by reference the allegations contained in paragraph 1
through 83.
214. FARINACCI tortured HOLMES while he was in his custody by refusing to give him

water and refusing to allow paramedics and staff at the hospital to give him water.

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215, HOLMES had just been put through hell, surviving several hours in his attic with
temperatures far exceeding 100 degrees while having gas grenades shot and thrown at him by
deputies. FARINACCI had a duty to provide HOLMES with water but instead of attending to his
medical needs FARINACCI decided to continue to torture HOLMES,

216. The actions of FARINACCI caused HOLMES physical pain and suffering. This has
resulted in HOLMES enduring pain and suffering, loss of capacity of life, mental suffering,
shame, public ridicule, and has been inconvenienced and suffered pecuniary losses, including loss
of income and loss of earning capacity.

WHEREFORE, Plaintiff demands judgement against FARINACCI for actual
compensatory damages, pain, suffering, emotional distress and demands a jury trial of all issues
triable.

COUNT XVH: MALICIOUS PROSECUTION AGAINST FERRE STATE CLAIM

217, Plaintiff hereby incorporates by reference the allegations contained in paragraph |
through 83.

218. FERRE wrongfully caused criminal proceedings to be instituted against Plaintiff with
malice and absence of probable cause, or arguable probable cause, by submitting police reports to
prosecuting authorities containing false statements and/or material omissions, which reports were
relied upon by prosecuting authorities.

219, FERRE intentionally and knowingly failed to submit evidence that he knew would
contradict and disprove his own statements.

220. Based on the elaborate story FERRE fabricated, the State Attorneys Office brought two
criminal charges against Plaintiff, trespassing which was changed after arrest to stalking and
resisting arrest without violence. These charges were ultimately “nolo prosequi” by the State
Attorney’s Office.

221. As a direct and proximate result of the conduct of FERRE, Plaintiff suffered loss of his
liberty and freedom, bodily injury and resulting pain and suffering, mental anguish, and loss of

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timesharing with LH. These losses are continuing, and Plaintiff will suffer losses in the future, in
violation of his civil rights.

WHEREFORE, Plaintiff demands judgement against FERRE for actual compensatory
damages, pain, suffering, emotional distress and demands a jury trial of all issues triable.

COUNT XVII: 42 U.S.C. § 1983 VIOLATION OF CIVLL RIGHTS CLAIM BY USE OF

EXCESSIVE FORCE (FIRST AMENDMENT RETALIATION) AGAINST MATHISEN

222, Plaintiff hereby incorporates by reference the allegations contained in paragraph 1
through 83.
223. This cause of action is brought by Plaintiff against MATHISEN for deprivation of

constitutional rights within the meaning of 42 U.S.C, § 1983.

224. MATHISEN proximately caused HOLMES to suffer injuries from the use of severe,
violent, unnecessary and excessive force upon him without cause nor justification.

225, While MATHISEN was acting under the authority of the State of Florida and under color
of law as a deputy in the employ of IRCSO, he subjected the Plaintiff to the deprivation of the
rights and privileges secured to him by the Constitution of the United States to be secure in his
person against the use of excessive force under the Fourth Amendment within the meaning of 42
U.S.C. § 1983.

226, With regard to the violations of the constitutional rights of HOLMES as alleged in this
count, the actions of MATHISEN were done with malicious intent, ill will, spite, intent to injure,
evil motive, wickedness, formed design to injure or oppress HOLMES and were done with a
reckless or callous indifference to HOLMES’ federally protected rights entitling HOLMES to an
award of punitive damages against MATHISEN in his individual capacity.

227. MATHISEN’S use of excessive force on HOLMES was in retaliation for HOLMES’
protected speech and rights under the First Amendment.

228. The use of the severe, violent, unnecessary and excessive force upon HOLMES occurred
without cause or justification.

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229, The conduct of MATHISEN towards HOLMES constitutes unlawful retaliation in
violation of HOLMES?’ clearly established rights under the First and Fourteenth Amendments,
and 42 U.S.C. § 1983.

230. As a direct and proximate result of the acts described above, Plaintiff suffered great
humiliation, mental and physical suffering and loss of reputation.

231. As a further direct and proximate result of the conduct of MATHISEN, Plaintiff suffered
loss of his liberty and freedom, severe mental anguish, and loss of capacity for the enjoyment of
life. Plaintiff's losses are either permanent or continuing and Plaintiff will suffer the losses in the
future, in violation of Plaintiff's civil rights.

WHEREFORE, Plaintiff demands judgement against MATHISEN for actual
compensatory damages, pain, suffering, emotional distress and demands a jury trial of all
issues triable.

COUNT XH INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS STATE

LAW _ CLAIM AGAINST MATHISEN

232. Plaintiff hereby incorporates by reference the allegations contained in paragraph 1
through 83 .
233. MATHISEN intentionally or with extreme recklessness, tortured HOLMES in his own

home for over three hours.

234. MATHISEN’S conduct was outrageous, as to go beyond all bounds of decency, and is
regarded as odious and utterly intolerable in a civilized community.

235, The actions of MATHISEN caused HOLMES emotional distress, which is severe and
continues to this day, This has resulted in HOLMES enduring pain and suffering, loss of capacity
of life, mental suffering, shame, public ridicule, and has been inconvenienced and suffered

pecuniary losses, including loss of income and loss of earning capacity.

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WHEREFORE, Plaintiff demands judgement against MATHISEN for actual

compensatory damages, pain, suffering, emotional distress and demands a jury trial of all issues

triable.

JURY DEMAND

A demand for a jury trial is hereby made.

Dated October 1, 2023

iP

Ryan Holmes

LouieholmesO&@email.com

772-559-9965

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